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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Helen C. Adams, Chief U.S. Magistrate Judge
Criminal No. 4:18-cr-00190-RGE-CFB-1         : Clerk’s Court Minutes – Initial Appearance/Arraignment
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United States of America vs. Robert Joe Hennings
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Gov. Atty(s): Jordan Marie Osborne                        : ✔ Indictment     Superseding Indictment      Information
Def. Atty(s): B. John Burns, III                          : Complaint        Warrant
Court Reporter: FTR Gold                                  : Code Violation/Offense:
Interpreter: N/A                                          : ACTIVITIES RE MATERIAL CONSTITUTING/CONTAINING CHILD PORNO
___________________________________________________________ 18:2252(a)(2), 2252(b)(1) Distribution of Child Pornography (1-2)
                                                             ACTIVITIES RE MATERIAL CONSTITUTING/CONTAINING CHILD PORNO
Date: September 6, 2018                                    : 18:2252(a)(2), 2252(b)(1) Receipt of Child Pornography (3)
                                                             ACTIVITIES RE MATERIAL CONSTITUTING/CONTAINING CHILD PORNO
Time Start: 3:02 p.m. Time End: 3:10 p.m.                 : 18:2252A(a)(5)(B), 2252A(b)(2) Possession of Child Pornography (4)
_______________________________________________________________________________________________________________________________________

                                                        Initial Appearance
✔ Defendant Advised of Rights
Representation:   ✔ Appointed FPD                    Appointed CJA               Retained Counsel
Next Court Event:   Preliminary                      Arraignment                 Removal Hearing
      Set for:
_______________________________________________________________________________________________________________________________________

                                                            Arraignment
Trial Scheduled for: 10/29/2018                           : ✔ Advised of Charges/Maximum Penalties
Rule 16 Material due: 9/17/2018                           : ✔ Indicted in True Name
Reciprocal Discovery due: 9/27/2018                       :        True Name:
Pretrial Motions due: 10/9/2018                           :   ✔  Reading of Indictment Waived
Plea Notification Deadline:                               : Plea of Not Guilty Accepted as to Ct(s): 1-4
Plea Entry Deadline: 10/15/2018                           : ✔ Denied Forfeiture
_______________________________________________________________________________________________________________________________________

                                         Custody Status
✔ Government Moved for Detention             Detention Hearing Set: 9/11/2018 at 4:00 p.m.
Court Ordered Defendant: Released on Bond ✔ Detained
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Minutes:
Defendant appeared with Federal Public Defender B. John Burns, III. Defendant advised of rights. Court appointed
Federal Public Defender to represent defendant. 3:05 p.m. Arraignment began. Court set dates. Status Conference
WITH COUNSEL ONLY is set for October 12, 2018 at 9:00 a.m. before the Honorable Celeste F. Bremer via
telephone conference. Counsel shall call the Court's AT&T Conference line at 1-866-590-5055 and enter access
code 7013731 at the prompt. Government moved for detention. Court set the detention hearing for September 11,
2018 at 4:00 p.m. before the Honorable Helen C. Adams in Room 460. Court ordered defendant to remain detained
pending hearing.

Plea Entry Deadline of October 15, 2018 was set; Defendant was advised that failure to enter a plea by this date may
negatively impact consideration and finding regarding reduction in offense level based upon Acceptance of
Responsibility pursuant to USSG.


                                                                                         /s/ L. Anderson
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                                                                                         Deputy Clerk
